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POLICE DX | 8. Gregory Andrew Aslinger 20850 Mary StTaylor | 50 | M | W = | 07/04/1964
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12:30pm March 14, 2014 8122 W Fort 14GA096
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OTHER PENDING CHARGES COMPLAINANT S PHONE
REISSUE OF TICKET 14411128

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On of around March 17, 2014 Detroit Police Sergeant Rebecca McKay of the General Assignment Unit was contacted by
a person who wishes to remain anonymous. This tipster indicated that while working at Southwest Metals he/she was
directed by the owner, management and employees at the yard not to tag and hold copper wire as required by law, The
tipster went on to say that the sorap yard does tag and hold copper wire for some customers, but customers they trust
“won't tell on them”, they simply purchase the copper wire and move it to a warehouse located in Dearborn. The tipster
said that he/she has observed the scrap yard purchase and move the copper wire described in several recent theft alerts for
4/0 and underground copper wire.

On March 21, 2014 at approximately 12:30pm the Detroit Police General Assignment Unit planned an unannounced
scrap yard inspection at 8122 W Fort St, Southwest Metals, Sergeant MeKay was in charge of the operation and
conducted the inspection with Detroit Police Officer’ Tommy Bell. Upon arrival at the location; members wete greeted by
defendant Aslinger, who advised that ho was the manager in charge of the day to day operations (Alsinger spent much of
the time on the phone with the owner Joe Fawaz, updating him on the progress of the inspection).

Sergeant McKay directed Officer Bell to pull several receipts from the cashier’s office and examine the trausactions to
ensure that the scrap yard was adhering to local and state lews with processing sales transactions, Sergeant McKay
reviewed video and inspected the premises. While inspecting the premises, Sergeant McKay discovered underground
copper cable and 4/0 capper cable consistent with the wire described ia recent theft alerts and personally shown to
employees, including defendant Aslinger, by DTE Energy Investigator Derek Hassan on March 19, 2014 when he visited
the yard to,igquire abouttiec Wire, .

REVIEWED AND

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INVESTIGATING OFFER; : (Signatire of Commattdiag Officer) Oisuict or Bureau
ebecca McKay #8397. Gg ~
WAYNE COUNTY
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1. Gregory Andrew Aslinger 20850 Mary St Taylor Mi 48180 50 M WwW 07/04/1964
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Page Two
Lr HS,

Name of
Defendant # only _ Gregory Andrew Aslinger Offense No,

Date of Complaint:

‘DETAILS ‘OF INVESTIGATION (Continued)
Sergeant McKay began reviewing video and observed that on March 14, 2014 at epproximately12:26pm an unknown
person is seen pushing a cart which contains wire consistent with the 4/0 copper wire reported stolen by DTE Energy the
sate morning. The copper wire is inspected and weighed by Scott Shillair who is on the non ferrous scale. After Shillair
_ porta tie pushes thie ‘cart toward 2 bin where the tag aud’hold wite is staged for the day. Later an employes

at

is seen removing the wire from the cart and placing it into the tag and hold bin, but before the employee can finish,
Shillair and Michael Yazback (employee who's title is unknown at this time) approach the employee unloading the cart,
Shillair and Yazback stop the employee, appear to have words with him and walk away. As Shilleir and Yazback walk
away, the employee begins taking the copper wire back out of the tag and hold bin and putting it back into the cart. Once
the employee has loaded the cart with the copper wire, he pushes the cart toward the rear of the warehouse (this is the
direction of Southwest Metals loading dock lovated outside). The video at the rear of building Jumped ftom ‘frame to
frame and did not capture where the cart was left by the employes. Sergeant McKay requested'to view another day of
video, but the system crashed.

After suspecting that the information given by the tipster had just been confirmed, Sergeant McKay directed Officer Bell
to inspect the iag and hold bin for March 14, 2014, The defendant arranged for an employee to find the bin for inspection.
The copper wire seen in the video was not in the tag and hold bin for Maroh 14, 2014, The officers looked further, in case
the material had been placed in the wrong the bin, looking through every tag and hold bin on the premises. The material
was not on the premises. Sergeant McKay inquired es to whether this wire was sold by a commercial account. The
defendant said it was, and produced a receipt for a transaction thal occurred at approximately 4:00pm on March 14, 2014,
No documentation or ticket was provided for that specific copper wire sale observed on video this day, ‘

Ata later date Southwest Metals provided ticket#52545759 for Copper #2 and Heavy #1 wire, The ticket was in the name
of Weiss Construction paid on March 14, 2014 at 12:27pm. This would be consistent with the video reviewed. This ticket
was not provided on the date of the inspection, nor was any commercial or industrial account information provided, This
ticket is void of a company address. Furthermore, the wire was not tagged and held in accordance with the Nonferrous
Metal Regulatory Act as described in MCL 445,425 © and MCL 445.429 (1). The tag and hold requirement does not
exclude licensed contractors, or commercial and industrial accounts, ‘This requirement does exclude sales between
dealers.

Sergeant MoKay reviewed video provided by Southwest Metals following the crash of the- system on March 14, 2014,
The sale that was time stamped at 12:26pm on March 14, 2014 actually occurred at approximately 11:30am on March 14,
2014 according to the video provided, however the receipt#52545759 is consistent with the video reviewed.

On March 21, 2014 State of Michigan Uniform Law Citation #14411128 was issued to defendant Gregory Aslinger for
“Fail to Tag and Hold”, This violation was dismissed for an unknown reason by an unknown prosecutor a short time afer
its issuance. Sergeant McKay inquired about the dismissal through the Wayne County Prosecutors Office and was
advised to re-issue on this warrant request. -

It should noted that underground cable consistent with the cable reported in several theft alerts was found on the premises
as well as a strand of 4/0 copper wire which was still covered with oily paper consistent with the fabric covered overhead
4/0 cable; both types of cable used by DFE and Public Lighting Department Detroit and reported stolen recent March 21,
2104. The pieces of cable did not have a tag attached and it is unknown when the cable was purchased by Southwest
Metals.

Evidence:
ET¥E43218804: Underground cable approximately 6” in length, lead encased
ET#E43218904: Photo of paper covered 4/0 aily copper wire 12” section (D'TE wire)

WITNESSES:

Derek Hassan (civilian) DTE Energy will testify to taking a sample of the 4/0 copper wire described in several
theft alerts to the scrap yard on March 19, 2014 and presenting the wire to defendant Aslinger, Michael Yazback,
Scott Shillair and Joe Fawaz.

Detroit Police Officer Tommy Bell #1602/DPD GAU will testify to the inspection and to finding no copper wire
tagged and held for March 14, 2014 consistent with the wire seen in the video,

Detroit Police Sergeant Rebecca McKay #8397 DPD/GAU will testify to the inspection, to review of video, to
finding 4/0 and underground cable on the premises, to conversations, observations and report.

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‘Uniform Law Citation Involved!
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